
*1063OPINION.
Littleton:
The evidence does not disclose how many pieces of improved property the petitioner owned and sold in 1920 and 1921, when any of it was purchased, what any of the property cost, or what the March 1, 1913, value of it was, nor, at what price any of the property was sold.
There is no evidence as to when any of the buildings or improvements were constructed, nothing as to the character of their construction, nor what work or repairs were done on them to keep thém in the alleged good state of preservation, nor the cost of such work.
It is insisted in argument and in the broad statement made by the one witness examined in petitioner’s behalf, that the improvements on the properties in question when sold in 1920 and 1921, were in as good or better condition than when they were new.
The inability of this witness to give, when asked, proper detailed information in regard to the properties, shows his broad statement to be a mere conclusion, not based on any lmown facts.
It is also argued that the properties sold were not such as were used in petitioner’s trade or business. It is claimed such were investment properties and not subject to depreciation.
*1064It is sufficient to say there is no evidence showing that the properties were not used in petitioner’s trade or business. The Commissioner held that they were. Upon a consideration of the record we affirm the Commissioner’s determination. Even Realty Co., 1 B. T. A. 355. U. S. v. Ludey, 274 U. S. 295.

Judgment will he entered for the respondent.

Considered by Smith.
